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 1                                                                    HONORABLE THOMAS S. ZILLY

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 7
                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 9
     HUNTERS CAPITAL, LLC et al.,
10                                                       Case No. 20-cv-00983 TSZ
                             Plaintiffs,
11                                                       DECLARATION OF TYLER FARMER IN
                 v.                                      SUPPORT OF CITY OF SEATTLE’S
12                                                       OPPOSITION TO MOTION FOR CLASS
     CITY OF SEATTLE,                                    CERTIFICATION
13
                             Defendant.
14

15          I, Tyler Farmer, declare as follows:

16          1.        I am one of the attorneys representing the City of Seattle in this action. I am over

17   age 18, competent to be a witness, and making this declaration based on facts within my own

18   personal knowledge.

19          2.        Attached as Exhibit 1 is a true and correct copy of Governor Jay Inslee’s March 23,

20   2020 “Stay Home – Stay Healthy” Proclamation number 20-25. This document was collected

21   from the State’s website at https://www.governor.wa.gov/sites/default/files/proclamations/20-

22   25%20Coronovirus%20Stay%20Safe-Stay%20Healthy%20%28tmp%29%20%28002%29.pdf on

23   February 5, 2022.

24          3.        Attached as Exhibit 2 is a true and correct copy of excerpts from the deposition of

25   Tamara Kilburn, Sway and Cake’s Rule 30(b)(6) designee, taken in this matter on May 7, 2021.


                                                                                         LAW OFFICES
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                Case 2:20-cv-00983-TSZ Document 75 Filed 02/07/22 Page 2 of 17




 1          4.      Attached as Exhibit 3 is a true and correct copy of Governor Jay Inslee’s May 4,

 2   2020 “Safe Start Washington: Phase I – Re-Opening Washington” Proclamation number 20-25.3.

 3   This document was collected from the State’s website at

 4   https://www.governor.wa.gov/sites/default/files/20-25.3%20-%20COVID-

 5   19%20Stay%20Home%20Stay%20Healthy%20-

 6   %20Reopening%20%28tmp%29.pdf?utm_medium=email&utm_source=govdelivery on February

 7   5, 2022.

 8          5.      Attached as Exhibit 4 is a true and correct copy of a chart from the State of

 9   Washington’s Coronavirus website entitled “Washington’s Phased Approach” to “Reopening

10   Business and Modifying Physical Distancing Measures”. This document was collected from the

11   State’s website at https://www.coronavirus.wa.gov/sites/default/files/2020-

12   05/PhasedReopeningChart.pdf on February 5, 2022.

13          6.      Attached as Exhibit 5 is a true and correct copy of King County’s June 5, 2020

14   announcement regarding “opening of businesses”. This document was collected from King

15   County’s website at

16   https://kingcounty.gov/elected/executive/constantine/news/release/2020/June/05-phase-covid.aspx

17   on January 20, 2022 and was marked as deposition exhibit 143 during the January 20, 2022

18   deposition of Mr. Oaksmith, one of the Hunters Capital’s Rule 30(b)(6) designees.

19          7.      Attached as Exhibit 6 is a true and correct copy of King County’s June 19, 2020

20   announcement regarding “Phase 2 of Safe Start recovery plan”. This document was collected from

21   King County’s website at

22   https://kingcounty.gov/elected/executive/constantine/news/release/2020/June/19-phase-2-

23   reopening.aspx on January 29, 2022.

24          8.      Attached as Exhibit 7 is a true and correct copy of a King 5 article titled, “All

25   Washington counties moving to Phase 3 of reopening.” This article was first published on March


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 1   11, 2021 and updated on March 21, 2021. This article was collected from King 5’s website at

 2   https://www.king5.com/article/news/health/coronavirus/jay-inslee-covid-19-reopening-

 3   washington/281-0b7fbbc3-97ab-4650-8e75-df83f31b53e9 on January 29, 2022.

 4           9.     Attached as Exhibit 8 is a true and correct copy of a screenshot snippet dated June

 5   16, 2020 from 8oz. Burger & Co. Facebook page. This screenshot was collected from this site:

 6   https://www.facebook.com/8ozburgerandco on February 5, 2022.

 7           10.   Attached as Exhibit 9 is a true and correct copy of a screenshot snippet dated June

 8   23, 2020 from Capitol Cider’s Facebook page. This screenshot was collected from this site:

 9   https://www.facebook.com/CapitolCider on February 5, 2022.

10           11.   Attached as Exhibit 10 is a true and correct copy of a screenshot snippet dated

11   August 14, 2020 from Unicorn’s Facebook page. This screenshot was collected from this site:

12   https://www.facebook.com/UnicornSeattle on February 5, 2022.

13           12.   Attached as Exhibit 11 is a true and correct copy of excerpts from the deposition of

14   Bradford Augustine, Madrona Entities’ Rule 30(b) 6) designee, taken in this matter on January 31,

15   2022.

16           13.   Attached as Exhibit 12 is a true and correct copy of the Madrona Entities’

17   (Madrona Real Estate Investors IV, LLC, Madrona Real Estate Investors, VI, LLC, 12th and Pike

18   Associates, LLC and Madrona Real Estate Services, LLC) spreadsheet detailing their alleged

19   damages. This document has been produced in this matter by Plaintiffs’ under Bates number

20   CHOP-0008704 – CHOP-0008706 and was marked as deposition exhibit 157 during the January

21   31, 2022 deposition of Mr. Augustine, the Madrona Entities’ Rule 30(b)(6) designee.

22           14.   Attached as Exhibit 13 is a true and correct copy of a screenshot snippet dated

23   October 25, 2020 from Rock Box’s Facebook page. This screenshot was collected from this site:

24   https://www.facebook.com/RockBoxSeattle on February 5, 2022.

25           15.   Attached as Exhibit 14 is a true and correct copy of excerpts from the deposition of


                                                                                      LAW OFFICES
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 1   Jill Cronauer, one of Hunters Capitol’s Rule 30(b)(6) designees, taken in this matter on September

 2   30, 2021.

 3           16.   Attached as Exhibit 15 is a true and correct copy of an April 1, 2020 email

 4   attaching a letter to Jill Cronauer of Hunters Capital from Amy Nelson of The Riveter. This

 5   document has been produced in this matter by Plaintiffs’ under Bates number CHOP-0026546 –

 6   CHOP-0026547 and was marked as deposition exhibit 80 during the September 30, 2021

 7   deposition of Ms. Cronauer, one of Hunters Capital’s Rule 30(b)(6) designee.

 8           17.   Attached as Exhibit 16 is a true and correct copy of a notice on King County’s

 9   website regarding the County’s Eviction Prevention and Rent Assistance Program. This program

10   became operational per Governor Inslee’s Proclamation 21-09 dated June 29, 2020. This

11   document was collected from King County’s website at: https://kingcounty.gov/depts/community-

12   human-services/COVID/eviction-prevention-rent-assistance.aspx on February 1, 2022.

13           18.   Attached as Exhibit 17 is a true and correct copy of an email exchange between

14   Bill Donner and Barry Cosme of Richmark Label dated during June 2020. This document has

15   been produced in this matter by Plaintiffs’ under Bates number CHOP-0005468 – CHOP-0005471

16   and was marked as deposition exhibit 102 during the November 16, 2021 deposition of Mr.

17   Donner, the Richmark Label Rule 30(b)(6) designee.

18           19.   Attached as Exhibit 18 is a true and correct copy of an email exchange between

19   Barry Cosme of Richmark Label and “Eddie” regarding Northwest Liquor Rent dated July 2 – 8

20   2020. This document has been produced in this matter by Plaintiffs’ under Bates number CHOP-

21   0005429 – CHOP-0005431 and was marked as deposition exhibit 103 during the November 16,

22   2021 deposition of Mr. Donner, the Richmark Label Rule 30(b)(6) designee.

23           20.   Attached as Exhibit 19 is a true and correct copy of excerpts from the deposition of

24   Bill Donner, Richmark Label’s Rule 30(b)(6) designee, taken in this matter on November 16,

25   2021.


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              Case 2:20-cv-00983-TSZ Document 75 Filed 02/07/22 Page 5 of 17




 1           21.    Attached as Exhibit 20 is a true and correct copy of spreadsheet detailing Richmark

 2   Label’s tenants. This document has been produced in this matter by Plaintiffs’ under Bates

 3   number CHOP-0028968.

 4           22.    Attached as Exhibit 21 is a true and correct copy of excerpts from the deposition of

 5   Matthew Ploszaj taken in this matter on June 10, 2021.

 6           23.    Attached as Exhibit 22 is a true and correct copy of an article published on the

 7   Capitol Hill Seattle Blog website dated June 18, 2020 titled, “Police and crowd control tactics left

 8   the scene, but residents near Capitol Hill protest zone contend with ongoing occupancy.” This

 9   post includes a copy of the full letter Packard building resident group sent to then Mayor, Jenny

10   Durkan. This post was collected from this website:

11   https://www.capitolhillseattle.com/?s=police+and+crowd+control&submit=Search on February 3,

12   2022.

13           24.    Attached as Exhibit 23 is a true and correct copy of an email exchange between

14   Kayla Stevens and Jill Cronauer of Hunters Capital and their tenants Maris Antolin and Ryan

15   Tarbet dated June 17, 2020. This document has been produced in this matter by Plaintiffs’ under

16   Bates number CHOP-0000300 – CHOP-0000301.

17           25.    Attached as Exhibit 24 is a true and correct copy of an email exchange between Jill

18   Cronauer of Hunters Capital and their tenant Dustin K. dated June 18, 2020. This document has

19   been produced in this matter by Plaintiffs’ under Bates number CHOP-0000251 – CHOP-0000253.

20           26.    Attached as Exhibit 25 is a true and correct copy of an article published by the

21   Seattle Times dated April 28, 2020 titled, “Seattle residents are flocking to South King County

22   during COVID pandemic”. This article was collected from this website:

23   https://www.seattletimes.com/seattle-news/housebound-seattle-residents-move-to-south-king-

24   county-for-more-room-during-the-pandemic/ on February 3, 2022.

25           27.    Attached as Exhibit 26 is a true and correct copy of an article published by The


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 1   New York Times dated April 19, 2021 titled, “How the Pandemic Did, and Didn’t, Change Where

 2   Americans Move”. This article was collected from this website:

 3   https://www.nytimes.com/interactive/2021/04/19/upshot/how-the-pandemic-did-and-didnt-change-

 4   moves.html on February 3, 2022.

 5          28.      Attached as Exhibit 27 is a true and correct copy of an article published by The

 6   New York Times dated September 4, 2020 titled, “To Many Travelers, 2020 was the Summer of

 7   1965”. This article was collected from this website:

 8   https://www.nytimes.com/2020/09/04/travel/to-many-travelers-2020-was-the-summer-of-

 9   1965.html on February 3, 2022.

10          29.      Attached as Exhibit 28 is a true and correct copy of excerpts from the deposition of

11   Wade Biller, Onyx Homeowners Association’s Rule 30(b)(6) designee, taken in this matter on

12   December 10, 2021.

13          30.      Attached as Exhibit 29 is a true and correct copy of excerpts from the deposition of

14   Sean Sheffer, Shuffle LLC d/b/a Cure Cocktails’s Rule 30(b)(6) designee, taken in this matter on

15   May 18, 2021.

16          31.      Attached as Exhibit 30 is a true and correct copy of a screenshot snippet dated June

17   7, 2020 from 35th North Skateshop’s Facebook page. This screenshot was collected from this site:

18   https://www.facebook.com/35thnorth on February 5, 2022.

19          32.      Attached as Exhibit 31 is a true and correct copy of a screenshot snippet dated June

20   19, 2020 from 35th North Skateshop’s Facebook page. This screenshot was collected from this

21   site: https://www.facebook.com/35thnorth on February 5, 2022.

22          33.      Attached as Exhibit 32 is a true and correct copy of a screenshot snippet dated June

23   21, 2020 from Capitol Cider’s Facebook page. This screenshot was collected from this site:

24   https://www.facebook.com/CapitolCider on February 5, 2022.

25          34.      Attached as Exhibit 33 is a true and correct copy of a screenshot snippet dated June


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 1   16, 2020 from Rock Box’s Facebook page. This screenshot was collected from this site:

 2   https://www.facebook.com/RockBoxSeattle on February 5, 2022.

 3          35.    Attached as Exhibit 34 is a true and correct copy of a screenshot snippet dated June

 4   1, 2020 from Unicorn Bar’s Facebook page. This screenshot was collected from this site:

 5   https://www.facebook.com/UnicornSeattle on February 5, 2022.

 6          36.    Attached as Exhibit 35 is a true and correct copy of a screenshot snippet dated June

 7   7, 2020 from Central Lutheran Church’s Facebook page. This screenshot was collected from this

 8   site: https://www.facebook.com/whereloveiscentral on February 5, 2022.

 9          37.    Attached as Exhibit 36 is a true and correct copy of a screenshot snippet dated June

10   19, 2020 from Hunters Capital’s Facebook page. This screenshot was collected from this site:

11   https://www.facebook.com/hunters.capital on February 5, 2022.

12          38.    Attached as Exhibit 37 is a true and correct copy of a screenshot snippet dated June

13   3, 2020 from Vermillion Art Gallery and Bar’s Facebook page. This screenshot was collected

14   from this site: https://www.facebook.com/VermillionGalleryBar on February 5, 2022.

15          39.    Attached as Exhibit 38 is a true and correct copy of a screenshot snippet of a Tweet

16   dated June 24, 2020 by Omari Salisbury @omarisal. This screenshot was collected from this site:

17   https://twitter.com/omarisal/status/1275963373516058626 on February 5, 2022.

18          40.    Attached as Exhibit 39 is a true and correct copy of Rancho Bravo’s Sales Reports

19   dated March – December, 2020. This document has been produced in this matter by Plaintiffs’

20   under Bates number CHOP-0005009 – CHOP-0005030.

21          41.    Attached as Exhibit 40 is a true and correct copy of an email from Richmark Label

22   employee Jeff Scott to several Richmark Label employees dated July 2, 2020. This document has

23   been produced in this matter by Plaintiffs’ under Bates number CHOP-0008399 – CHOP-0008400

24   and was marked as deposition exhibit 104 during the November 16, 2021 deposition of Mr.

25   Donner, the Richmark Label Rule 30(b)(6) designee.


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 1          42.     Attached as Exhibit 41 is a true and correct copy of an email exchange between

 2   Rich Fox, Operating Owner of Poquitos Restaurant and Jill Cronauer of Hunters Capital dated

 3   June 13 - 14, 2020. This document has been produced in this matter by Plaintiffs’ under Bates

 4   number CHOP-0000284 and was marked as deposition exhibit 149 during the January 20, 2022

 5   deposition of Mr. Oaksmith, one of the Hunters Capital’s Rule 30(b)(6) designees.

 6          43.     Attached as Exhibit 42 is a true and correct copy of a spreadsheet containing

 7   descriptions of protest-related tort claims filed with the City of Seattle. This document has been

 8   produced in this matter by the City of Seattle under Bates number SEA_00144754 –

 9   SEA_00144758.

10          44.     Attached as Exhibit 43 is a true and correct copy of excerpts from the deposition of

11   Seattle Police Department Assistant Police Chief Thomas Mahaffey taken in this matter on January

12   26, 2022.

13          45.     Attached as Exhibit 44 is a true and correct copy of excerpts from the deposition of

14   Seattle Fire Department Chief Harold Scoggins taken in this matter on September 14, 2021.

15          46.     Attached as Exhibit 45 is a true and correct copy of a PowerPoint presentation

16   titled, Seattle Fire Department Response to protests and CHAZ/ CHOP presented by Chief

17   Scoggins in August 2021 to the NHSC (National Homeland Security Conference). This document

18   has been produced in this matter by the City of Seattle under Bates number SEA_00144709 and

19   was marked as deposition exhibit 5 during the September 14, 2021 deposition of Chief Harold

20   Scoggins.

21          47.     Attached as Exhibit 46 is a true and correct copy of excerpts from the deposition of

22   Former General Manager and CEO of Seattle Public Utilities Mami Hara taken in this matter on

23   October 4, 2021.

24          48.     Attached as Exhibit 47 is a true and correct copy of excerpts from the deposition of

25   John McDermott, SRJ d/b/a Car Tender’s Rule 30(b)(6) designee, taken in this matter on January


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 1   19, 2022.

 2          49.     Attached as Exhibit 48 is a true and correct copy of excerpts from the deposition of

 3   Lonnie Thompson, Bergman’s Lock and Key Rule 30(b)(6) designee, taken in this matter on May

 4   4, 2021.

 5          50.     Attached as Exhibit 49 is a true and correct copy of excerpts from the deposition of

 6   Former Seattle Department of Transportation Director Sam Zimbabwe taken in this matter on

 7   October 28, 2021.

 8          51.     Attached as Exhibit 50 is a true and correct copy of an email exchange between

 9   Richmark Label owner Bill Donner and Gary Volchok dated June 11 - 12, 2020. This document

10   has been produced in this matter by Plaintiffs’ under Bates number CHOP-0005676 – CHOP-

11   0005677 and was marked as deposition exhibit 90 during the November 16, 2021deposition of Mr.

12   Donner, the Richmark Label Rule 30(b)(6) designee.

13          52.     Attached as Exhibit 51 is a true and correct copy of an article published by The

14   Seattle Times dated May 29, 2020 titled, “Sparked by death of George Floyd, Seattle protesters

15   clash with police ”. This article was collected from this website:

16   https://www.seattletimes.com/seattle-news/protesters-break-windows-clash-with-police-in-

17   downtown-seattle/ on September 16, 2021.

18          53.     Attached as Exhibit 52 is a true and correct copy of an article published by The

19   New York Times dated November 5, 2021 titled, “George Floyd Protests: A Timeline ”. This

20   article was collected from this website: https://www.nytimes.com/article/george-floyd-protests-

21   timeline.html on January 30, 2022.

22          54.     Attached as Exhibit 53 is a true and correct copy of a May 30, 2020 Snap Shot

23   Report from the City of Seattle’s Office of Emergency Management Emergency Operations Center

24   (EOC). This document has been produced in this matter by the City of Seattle under Bates number

25   SEA-OEM_000001 – SEA-OEM_000002.


                                                                                          LAW OFFICES
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 1          55.     Attached as Exhibit 54 is a true and correct copy of an article published by The

 2   New York Times dated June 9, 2021 titled, “After a Year of Protests, Portland is Ready to Move

 3   on. But Where? ”. This article was collected from this website:

 4   https://www.nytimes.com/2021/06/09/us/portland-protests.html on February 3, 2022.

 5          56.     Attached as Exhibit 55 is a true and correct copy of an article published by The

 6   Seattle Times dated May 28, 2020 titled, “George Floyd protesters set Minneapolis police station

 7   a fire ”. This article was collected from this website: https://www.seattletimes.com/nation-

 8   world/nation/fires-looting-rock-minneapolis-after-mans-death-1-dead/ on September 16, 2022.

 9          57.     Attached as Exhibit 56 is a true and correct copy of press release from former

10   Seattle Mayor Jenny Durkan’s office dated May 30, 2020. This press release was collected from

11   the City of Seattle’s website at: https://durkan.seattle.gov/2020/05/mayor-durkan-issues-

12   emergency-orders-proclaiming-civil-emergency-due-to-demonstrations-and-banning-use-of-

13   weapons-throughout-city/ on September 14, 2021.

14          58.     Attached as Exhibit 57 is a true and correct copy of a Seattle Police Department

15   SPD Blotter dated May 31, 2020. This SPD Blotter was collected from the City of Seattle’s

16   website at: https://spdblotter.seattle.gov/2020/05/31/chiefs-statement-on-may-30th-protests-

17   downtown/ on September 14, 2021.

18          59.     Attached as Exhibit 58 is a true and correct copy of a June 3, 2020 Snap Shot

19   Report from the City of Seattle’s Office of Emergency Management Emergency Operations Center

20   (EOC). This document has been produced in this matter by the City of Seattle under Bates number

21   SEA-OEM_000064 – SEA-OEM_000066.

22          60.     Attached as Exhibit 59 is a true and correct copy of a Seattle Police Department

23   SPD Blotter dated June 1, 2020. This SPD Blotter was collected from the City of Seattle’s website

24   at: https://spdblotter.seattle.gov/2020/06/01/spd-declares-east-precinct-demonstration-a-riot/ on

25   September 14, 2021.


                                                                                       LAW OFFICES
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 1          61.     Attached as Exhibit 60 is a true and correct copy of a Seattle Police Department

 2   SPD Blotter dated June 7, 2020. This SPD Blotter was collected from the City of Seattle’s website

 3   at: https://spdblotter.seattle.gov/2020/06/07/east-precinct-protest-update/ on September 14, 2021.

 4          62.     Exhibit number 61 was not used.

 5          63.     Attached as Exhibit 62 is a true and correct copy of an email exchange between

 6   Seattle Police Department Assistant Chief Thomas Mahaffey and Seattle Police officer David

 7   Sullivan dated June 8, 2020. This document has been produced in this matter by the City of Seattle

 8   under Bates number SEA_00022773 – SEA_00022774.

 9          64.     Attached as Exhibit 63 is a true and correct copy of excerpts from the deposition of

10   Former Seattle Mayor Jenny Durkan taken in this matter on December 8, 2021.

11          65.     Attached as Exhibit 64 is a true and correct copy of excerpts from the deposition of

12   Former Seattle Police Chief Carmen Best taken in this matter on November 9, 2021.

13          66.     Attached as Exhibit 65 is a true and correct copy of an email exchange between

14   Stephanie Formas, former Mayor Jenny Durkan’s Chief of Staff and Wall Street Journal reporter

15   Ian Lovett dated June 12, 2020. This document has been produced in this matter by the City of

16   Seattle under Bates number SEA_00136110.

17          67.     Attached as Exhibit 66 is a true and correct copy of an email exchange between

18   Kamaria Hightower, former Mayor Jenny Durkan’s Deputy Communications Director and various

19   members of the press dated June 11, 2020. This document has been produced in this matter by the

20   City of Seattle under Bates number SEA_00041990 – SEA_00041991.

21          68.     Attached as Exhibit 67 is a true and correct copy of press release and transcript

22   from former Seattle Mayor Jenny Durkan’s dated June 7, 2020. This press release and press

23   conference transcript was collected from the City of Seattle’s website at:

24   https://durkan.seattle.gov/2020/06/transcript-mayor-durkans-remarks-at-sunday-june-7-press-

25   conference/ on September 14, 2021.


                                                                                       LAW OFFICES
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 1          69.     Attached as Exhibit 68 is a true and correct copy of an email exchange between

 2   Seattle Police Department Assistant Chief Thomas Mahaffey and Seattle Police officer Andrew

 3   Zwaschka dated June 9, 2020. This document has been produced in this matter by the City of

 4   Seattle under Bates number SEA_00025228 – SEA_00025229.

 5          70.     Attached as Exhibit 69 is a true and correct copy of an email exchange between

 6   multiple Seattle Police Department Chiefs and officers dated June 9, 2020. This document has

 7   been produced in this matter by the City of Seattle under Bates number SEA_00159602 –

 8   SEA_00159603.

 9          71.     Attached as Exhibit 70 is a true and correct copy of Dkt. No. 34, Order Granting in

10   Part Motion for Temporary Restraining Order, filed June 12, 2020 in the matter of Black Lives

11   Matter of Seattle-King County, et. al. v. City of Seattle and City of Seattle Police Department (Case

12   No. 2:20-cv-00887-RAJ, USDC-WDWA).

13          72.     Attached as Exhibit 71 is a true and correct copy of an email exchange between

14   members of the Seattle Police Department including former Police Chief Carmen Best and

15   Assistant Chief Thomas Mahaffey dated June 14 - 15, 2020. This document has been produced in

16   this matter by the City of Seattle under Bates number SEA_00021400 – SEA_00021401.

17          73.     Attached as Exhibit 72 is a true and correct copy of a calendar invitation to City of

18   Seattle employees who were active in the operation of the City’s Emergency Operation Center

19   (EOC) with attached call notes from the June 10, 2020 6:00 am EOC call. This document has been

20   produced in this matter by the City of Seattle under Bates number SEA_00028041 –

21   SEA_00028043.

22          74.     Attached as Exhibit 73 is a true and correct copy of a calendar invitation to City of

23   Seattle employees who were active in the operation of the City’s Emergency Operation Center

24   (EOC) detailing the final daily update for June 9, 2020. This document has been produced in this

25   matter by the City of Seattle under Bates number SEA_00020440 – SEA_00020442.


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 1          75.    Attached as Exhibit 74 is a true and correct copy of a calendar invitation to City of

 2   Seattle employees who were active in the operation of the City’s Emergency Operation Center

 3   (EOC) with attached call notes from the June 10, 2020 11:00 am EOC call. This document has

 4   been produced in this matter by the City of Seattle under Bates number SEA_00028039 –

 5   SEA_00028040.

 6          76.    Attached as Exhibit 75 is a true and correct copy of an email exchange amongst

 7   several City of Seattle employees, including Seattle Transportation Director Sam Zimbabwe, dated

 8   June 10 - 11, 2020 with an attached map of street barriers. This document has been produced in

 9   this matter by the City of Seattle under Bates number SEA_00091462 – SEA_0091469.

10          77.    Attached as Exhibit 76 is a true and correct copy of an email exchange amongst

11   several employees of the Seattle Police Department dated June 16, 2020 with an attached map of

12   barrier placement. This document has been produced in this matter by the City of Seattle under

13   Bates number SEA-SPD_006803 – SEA-SPD_006804 and was marked as deposition exhibit 15

14   during the January 26, 2022 deposition of Assistant Police Chief Thomas Mahaffey.

15          78.    Attached as Exhibit 77 is a true and correct copy of a document titled, “Updates on

16   Capitol Hill from the City of Seattle”. This document has been produced in this matter by the City

17   of Seattle under Bates number SEA_00140465 – SEA_00140468.

18          79.    Attached as Exhibit 78 is a true and correct copy of an email exchange between

19   Kamaria Hightower, Mayor Durkan’s former Deputy Communications Director and Deedee Sun of

20   KIRO 7 news dated June 29, 2020. This document has been produced in this matter by the City of

21   Seattle under Bates number SEA_00081428 – SEA_00081429.

22          80.    Attached as Exhibit 79 is a true and correct copy of an email exchange between

23   Ernesto Apreza, Mayor Durkan’s former Director of Communications and Anna-Maja Rappard

24   and Dan Sion of CNN dated June 26, 2020. This document has been produced in this matter by

25   the City of Seattle under Bates number SEA_00042297 – SEA_00042298.


                                                                                      LAW OFFICES
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 1           81.   Attached as Exhibit 80 is a true and correct copy of Executive Order 2020-08

 2   signed on June 30, 2020 by Mayor Jenny Durkan. This document has been produced in this matter

 3   by the City of Seattle under Bates number SEA_00045264 – SEA_00045268 was marked as

 4   deposition exhibit 1 during the December 8, 2021 deposition of Mayor Jenny Durkan.

 5           82.   Attached as Exhibit 81 is a true and correct copy of an email exchange between

 6   Michael (Mike) Malone, Chairman and Owner of Hunters Capital and Seattle Police Chief Carmen

 7   Best dated July 1, 2020. This document has been produced in this matter by Plaintiffs’ under

 8   Bates number CHOP-0016627.

 9           83.   Attached as Exhibit 82 is a true and correct copy of excerpts from Plaintiff’s

10   Answers and Responses to Defendant City of Seattle’s Second Discovery Requests dated May 10,

11   2021.

12           84.   Attached as Exhibit 83 is a true and correct copy of an email exchange between Jill

13   Cronauer and Kayla Stevens of Hunters Capital and Nitika Arora dated June 23 – 25, 2020. This

14   document has been produced in this matter by Plaintiffs’ under Bates number CHOP-0015395 –

15   CHOP-0015397 and was marked as deposition exhibit 150 during the January 20, 2022 deposition

16   of Mr. Oaksmith, one of Hunters Capital’s Rule 30(b)(6) designees.

17           85.   Attached as Exhibit 84 is a true and correct copy of excerpts from the deposition of

18   Michael Oaksmith, one of Hunters Capitol’s Rule 30(b)(6) designees, taken in this matter on

19   January 20, 2022.

20           86.   Attached as Exhibit 85 is a true and correct copy of a document entitled, Estimated

21   losses for Bergman’s Lock & Key. This document has been produced in this matter by Plaintiffs’

22   under Bates number CHOP-0008655 and was marked as deposition exhibit 7 during the May 4,

23   2021 deposition of Mr. Thompson, Bergman’s Lock & Key’s Rule 30(b)(6) designee.

24           87.   Attached as Exhibit 86 is a true and correct copy of a document entitled, June –

25   December Losses 2020. This document has been produced in this matter by Plaintiffs’ under Bates


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 1   number CHOP-0005395 and was marked as deposition exhibit 20 during the May 7, 2021

 2   deposition of Ms. Kilburn, Sway and Cake’s Rule 30(b)(6) designee.

 3          88.    Attached as Exhibit 87 is a true and correct copy of a document entitled, Olive St

 4   Apartments LLC Cost to date March 1, 2021. This document has been produced in this matter by

 5   Plaintiffs’ under Bates number CHOP-0004900 and was marked as deposition exhibit 45 during

 6   the May 21, 2021 deposition of Mr. Wanagel, Olive Street Apartments’ Rule 30(b)(6) designee.

 7          89.    Attached as Exhibit 88 is a true and correct copy of an excerpt of an excel

 8   spreadsheet (formatted to pdf for filing) detailing Hunters Capital damages. This document has

 9   been produced in this matter by Plaintiffs’ under Bates number CHOP-0007739 and was marked as

10   deposition exhibit 63 during the September 30, 2021 deposition of Ms. Cronauer, one of Hunters

11   Capital’s Rule 30(b)(6) designees.

12          90.    Attached as Exhibit 89 is a true and correct copy of an excel spreadsheet (formatted

13   to pdf for filing) detailing The Richmark Company (Richmark Label’s) damages. This document

14   has been produced in this matter by Plaintiffs’ under Bates number CHOP-0006423 and was

15   marked as deposition exhibit 91 during the November 16, 2021 deposition of Mr. Donner,

16   Richmark Label’s’ Rule 30(b)(6) designee.

17          91.    Attached as Exhibit 90 is a true and correct copy of a document detailing SRJ d/b/a

18   Car Tender’s damages. This document has been produced in this matter by Plaintiffs’ under Bates

19   number CHOP-0005389 – CHOP-0005390 and was marked as deposition exhibit 137 during the

20   January 19, 2022 deposition of Mr. McDermott, SRJ d/b/a Car Tender’s Rule 30(b)(6) designee.

21          92.    Attached as Exhibit 91 is a true and correct copy of letter dated April 13, 2020 to

22   Hunters Capital from tenant Blick Art Materials, LLC. This document has been produced in this

23   matter by Plaintiffs’ under Bates number CHOP-0012352 – CHOP-0012355 and is an excerpt

24   from deposition exhibit 69 marked during the September 30, 2021 deposition of Ms. Cronauer, one

25   of Hunters Capital’s Rule 30(b)(6) designee.


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 1          93.    Attached as Exhibit 92 is a true and correct copy of March 13, 2020 email between

 2   Jill Cronauer of Hunters Capital and Ethan Stowell, Founder & CEO and Steve Hooper, Jr.,

 3   President of Ethan Stowell Restaurants. This document has been produced in this matter by

 4   Plaintiffs’ under Bates number CHOP-0027368 – CHOP-0027369 and was marked as deposition

 5   exhibit 62 during the September 30, 2021 deposition of Ms. Cronauer, one of Hunters Capital’s

 6   Rule 30(b)(6) designee.

 7          94.    Attached as Exhibit 93 is a true and correct copy of an email dated June 12, 2020

 8   sent to officers within the Seattle Police Department by Jason Verhoff. This document has been

 9   produced in this matter by the City of Seattle under Bates number SEA-SPD_005983 – SEA-

10   SPD_005984 and was marked as deposition exhibit 2 during the January 26, 2022 deposition of

11   Assistant Police Chief Thomas Mahaffey.

12          95.    Attached as Exhibit 94 is a true and correct copy of an email dated June 18 - 19,

13   2020 between Seattle Police Department Chiefs Carmen Best, Adrian Diaz and Thomas Mahaffey,

14   and members of the Mayor’s Office, Mayor Jenny Durkan, Michael Fong, Julie Kline and

15   Stephanie Formas. This document has been produced in this matter by the City of Seattle under

16   Bates number SEA_00028176 – SEA_00028177 and was marked as deposition exhibit 13 during

17   the December 8, 2021 deposition of Mayor Jenny Durkan.

18          96.    Appendix A is a map of the proposed Class Area overlaid with the Seattle Police

19   Department’s “Red Zone” as of June 12, 2020. Appendix A was created using Exhibit 93 to this

20   declaration (SEA-SPD_005983) and Exhibit 82 to this declaration (Plaintiffs’ May 10, 2021

21   Responses and Objections to Defendant’s Second Discovery Requests).

22          97.    Appendix B is a map of the proposed Class Area overlaid with the Seattle Fire

23   Department’s “Red Zone” as of June 12, 2020. Appendix B was created using Exhibit 45 at ,

24   page 12 to this declaration (SEA_00144709) and Exhibit 82 to this declaration (Plaintiffs’ May

25   10, 2021 Responses and Objections to Defendant’s Second Discovery Requests).


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 1           98.     Appendix C is a map of the proposed Class Area overlaid with barriers as of June

 2   10, 2020. Appendix C was created using Exhibit 75 to this declaration at SEA_00091469 and

 3   Exhibit 82 to this declaration (Plaintiffs’ May 10, 2021 Responses and Objections to Defendant’s

 4   Second Discovery Requests).

 5           99.     Appendix D is a map detailing barrier placement as of June 16, 2020. This map is

 6   attached to the email at Exhibit 76 of this declaration (SEA-SPD_006804).

 7           I swear under the penalty of perjury under the laws of the United States that the foregoing

 8   is true and correct.

 9           DATED this 7th day of February, 2022, at Seattle, Washington.

10
                                                   s/ Tyler L. Farmer
11                                                TYLER L. FARMER
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